     Case Case
          2:20-cr-00207-JCM-EJY *SEALED*
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6    Attorneys for the United States

7                                 UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF NEVADA
8
     UNITED STATES OF AMERICA,                      Case No. 2:20-cr-00207-JCM-EJY00000-XXX-
9                                                   XXXXXX-XXX
                     Plaintiff,
10                                                  Motion to Unseal Case
            v.
11
     JORGE ANTONIO CORTEZ-MEZA,
12    aka JORGE ANTONIO CORTES-MEZA,
      aka JORGE ANTONIO CORTEZ-MESA,
13
                     Defendant.
14

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16          The United States of America, by and through its attorneys, Nicholas Trutanich,

17   United States Attorney, and Jared L. Grimmer, Assistant United States Attorney, moves

18   for entry of the proposed Order unsealing the above-captioned case.

19          In support of its motion, the Government states:

20      1. On or about June 4, 2020, a Complaint was filed with the Court, charging Mr.

21   Cortez-Meza with violation of 8 U.S.C. § 1326(a) and (b), Deported Alien Found in the

22   United States. See ECF No. 1, 2:20-mj-00461-DJA.

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     Case Case
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1       2. Mr. Cortez-Meza made an initial appearance before the Court on or about June 8,

2    2020, and was ordered detained pending trial. Id. at ECF Nos. 3, 16. Mr. Cortez-Meza

3    remains detained by the U.S. Marshal Service.

4       3. Mr. Cortez-Meza has signed a plea agreement with the United States, and this

5    Court has set a change of plea hearing for September 11, 2020. This case was not sealed

6    when before the Magistrate Court, but when set before this Court, it was designated as

7    sealed.

8       4. Therefore, the United States moves this Court to unseal the above-captioned case, in

9    that keeping it sealed is not necessary.

10                 DATED this 14th day of August, 2020.

11                                              NICHOLAS A. TRUTANICH
                                                United States Attorney
12
                                                /s/ Jared L. Grimmer
13                                              _____________________________
                                                JARED L. GRIMMER
14                                              Assistant United States Attorney

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     Case Case
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2                                UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEVADA
3
     UNITED STATES OF AMERICA,                        Case No. 2:20-cr-00207-JCM-EJY00000-XXX-
4                                                     XXXXXX-XXX
                    Plaintiff,
5                                                     Order Unsealing Case
            v.
6                                                     (Proposed)
     JORGE ANTONIO CORTEZ-MEZA,
7     aka JORGE ANTONIO CORTES-MEZA,
      aka JORGE ANTONIO CORTEZ-MESA,
8
                    Defendant.
9

10

11   Upon consideration and review of the Government’s motion:

12          IT IS HEREBY ORDERED that the above-captioned matter, United States of America

13   v. Jorge Antonio Cortez-Meza, is unsealed.

14

15                August
            DATED this ____19,
                            day2020.
                                of August, 2020.

16                                                     By the Court:

17
                                                       ____________________________
18                                                     Hon. James C. Mahan
                                                       United States District Judge
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